
DECISION.
The taxpayer is entitled to deduct from his gross income in the calendar year 1920 as a loss the sum of $2,935 on the sale in that year of stock of the Union Traction Co. of Indiana, which stock had a fair market price on March 1, 1913, of $35.75 per share for the second preferred and $6 per share for the common. That part of the deficiency determined by the Commissioner by reason of the disallowance of any loss on the sale of this stock is disallowed.
The Board will determine the deficiency, if any, to be assessed upon revised computation by the Bureau of Internal Revenue which *75shall be submitted by the Commissioner after due notice to the taxpayer, or upon stipulation, or upon rehearing to be set upon motion of either party.
